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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

              Plaintiff,                         Hon. Ketanji Brown Jackson

      v.                                         Criminal No. 21-CR-008 (KBJ)

JONATHAN JOHNSON,

              Defendants.



              CONSENT MOTION TO VACATE BENCH TRIAL
                     AND SET FOR JURY TRIAL

      Comes now Defendant Jonathan Johnson, by and through undersigned

counsel, with the consent of opposing counsel and moves this Court to vacate the

Bench Trial currently scheduled for May 11, 2021. Further, Defendant hereby

requests pursuant to Fed. R. Crim. P. 23 that this matter be set for a trial by jury.

      As defendant has continued to receive and review discovery materials in this

matter, it has become clear that the previously scheduled trial date is untenable.

Defendant requires additional time to review materials and potentially consult with

expert witnesses. Further, defendant has reconsidered his prior decision to proceed

by bench trial and instead wishes to exercise his right to a trial by jury.1




      1
       Undersigned counsel has discussed with Defendant and Defendant has
consented to the exclusion of time until a status hearing may be held for purposes

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      WHEREFORE, for the foregoing reasons the Defendant moves this Court to

vacate the Bench Trial scheduled for May 11, 2021 and requests a status hearing to

set this matter for a Trial by Jury.




                                       Respectfully submitted,



DATED: April 2, 2021
                                        /s/ Jonathan Zucker

                                       Jonathan Zucker, Esq.
                                       Peter Wright, Esq.
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                                       Washington, DC 20002
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of the Speedy Trial Act. Given the standing order in this Court regarding
postponements due to Covid-19, the matter is arguably moot.

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                           CERTIFICATE OF SERVICE

       I certify that on April 2, 2021, I caused the foregoing to be filed with the
court using the CM/ECF system that will send notification of such filing to the
following registered users:

      Kevin Birney
      Assistant United States Attorneys
      555 4th St., NW
      Washington, DC 20530

      Additionally, a courtesy copy was sent via email.


                                              /s/________________________
                                              Jonathan Zucker




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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

             Plaintiff,                      Hon. Ketanji Brown Jackson

      v.                                     Criminal No. 21-CR-008 (KBJ)

JONATHAN JOHNSON,

             Defendants.


              ORDER GRANTING CONSENT MOTION TO CONTINUE

      Upon consideration of the Consent motion to vacate the Bench Trial, and for

the reasons stated therein, it is hereby ORDERED that the motion is GRANTED,

the May 11, 2021 Trial Date is vacated. The parties shall appear before the court

for a status hearing on the _____ day of ________, 2021 for the purpose of

discussing a new trial date. It is further ORDERED that the time period from the

date of this Order through and including the date of the next hearing is hereby

excluded from the computation of time within which trial must commence under

the Speedy Trial Act, 18 U.S.C. § 3161 et seq.




                                       ____________________________
                                       Judge Ketanji Brown Jackson




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